      Case 3:21-cr-00402-RS Document 370-1 Filed 08/09/24 Page 1 of 2



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     VICTOR MAKRAS
 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
11
     UNITED STATES OF AMERICA,                    Case No. 3:21-cr-00402 RS
12
                    Plaintiff,                    DECLARATION OF JAN NIELSEN
13                                                LITTLE IN SUPPORT OF UNOPPOSED
               v.                                 MOTION FOR EARLY TERMINATION
14                                                OF SUPERVISED RELEASE
     VICTOR MAKRAS,
15                                                Dept.:      Courtroom 3 – 17th Floor
                    Defendant.                    Judge:      Hon. Richard Seeborg
16
                                                  Date Filed: October 19, 2021
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                                                  Trial Date: August 15, 2022
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          DECLARATION OF JAN NIELSEN LITTLE IN SUPPORT OF UNOPPOSED MOTION FOR EARLY
                              TERMINATION OF SUPERVISED RELEASE
                                     Case No. 3:21-cr-00402 RS
     2764372
      Case 3:21-cr-00402-RS Document 370-1 Filed 08/09/24 Page 2 of 2



 1             I, Jan Nielsen Little, declare as follows:

 2             1.     I am an attorney licensed to practice law in the State of California and a partner at

 3   the law firm of Keker, Van Nest & Peters, LLP, counsel for Defendant Victor Makras. I submit

 4   this declaration in support of Defendant Victor Makras’ Unopposed Motion for Early

 5   Termination of Supervised Release. I have knowledge of the facts set forth herein, and if called

 6   upon as a witness thereto, I could testify competently under oath.

 7             2.     On August 6, 2024, I emailed United States Probation Officer Carla Navarro

 8   concerning this motion. On August 8, 2024, Ms. Navarro responded that the U.S. Probation

 9   Office had no objection to early termination of Mr. Makras’ supervision.

10             3.     On August 8, 2024, I emailed Assistant United States Attorney David Ward

11   concerning this motion. On August 9, 2024, Mr. Ward responded that the Government does not

12   object to early termination of Mr. Makras’ supervision.

13             4.     During his period of supervision, Mr. Makras has complied with all conditions of

14   release, including timely submission of his pay stubs every two weeks, and obtaining permission

15   for all travel. His supervision record is unblemished.

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17             I declare under penalty of perjury under the laws of the United States of America that the

18   foregoing is true and correct and that this declaration was executed on August 9, 2024, in San

19   Francisco, California.

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21                                                          JAN NIELSEN LITTLE
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          DECLARATION OF JAN NIELSEN LITTLE IN SUPPORT OF UNOPPOSED MOTION FOR EARLY
                              TERMINATION OF SUPERVISED RELEASE
                                     Case No. 3:21-cr-00402 RS
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